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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                    No. 15-cr-165 (JRT/LIB) (24)

                 Plaintiff,

v.                                                           REPORT AND RECOMMENDATION

Nakoya Harris Keezer,

                 Defendant.


        This matter came before the undersigned United States Magistrate Judge pursuant to a

general assignment, made in accordance with the provisions of Title 28 U.S.C. § 636(b)(1)(A),

upon the Defendant’s Motion for Severance of Defendants, [Docket No. 530]. The Court held a

motion hearing on October 19, 2015, at which time the Defendant submitted his motion on the

written submissions of the parties.

        For the reasons discussed below, the Court recommends DENYING Defendant’s Motion

for Severance of Defendants, [Docket No. 530].

I.      BACKGROUND AND STATEMENT OF RELEVANT FACTS 1

        The Government alleges that between April 2014, and April 2015, “the defendants,

conspiring with and aiding and abetting one another and other persons known and unknown to

the grand jury participated in various roles and ways to procure, transport, and distribute

controlled substances including heroin, methamphetamine, oxycodone, hydromorphone,

hydrocodone, and methadone to the communities in and surrounding the Red Lake Indian

Reservation, the White Earth Indian Reservation, and Native American communities elsewhere.”

(Indictment, [Docket No. 1], at ¶ 1). The controlled substances were procured and transported

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  Neither the Defendant nor the Government presented supplemental briefing on the present motion; therefore all
facts presented are taken from the Indictment, [Docket No. 1].
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from Detroit, Michigan; Chicago, Illinois; and Minneapolis, Minnesota, among other locations.

(Id. at ¶ 2). The Indictment charges a total of forty-one (41) defendants as violating “Title 21,

United States Code, Section 841(a)(1).” (Id. at ¶ 12, Count I).

       Regarding the present Defendant, the Indictment alleges that Defendant, along with other

co-defendants, “did, among other things, facilitate, supervise, manage, transport, maintain

residences, receive and transfer funds, and distribute controlled substances during the course of

the conspiracy.” (Id. at ¶ 11). The Indictment also alleges that Defendant’s conduct as a member

of the “narcotics conspiracy charged in Count 1, which includes the reasonably foreseeable

conduct of other members of the narcotics conspiracy charged in Count 1, involved 100 grams or

more of a mixture and substance containing a detectable amount of heroin, in violation of Title

21, United States Code, Section 841(b)(1)(B), and quantities of mixtures and substances

containing detectable amounts of methamphetamine, oxycodone, hydromorphone, hydrocodone,

and methadone, in violation of Title 21, United States Code, Section 841 (b)(1)(C).” (Indictment,

[Docket No. 1], at ¶ 17).

II.    STANDARD OF REVIEW

       An indictment may charge two or more defendants “if they are alleged to have

participated in the same act or transaction, or in the same series of acts or transactions,

constituting an offense or offenses.” Fed. R. Crim. P. 8(b). “For proper joinder under this

provision, it is not necessary that every defendant have participated in or be charged with each

offense.” United States v. Warfield, 97 F.3d 1014, 1019 (8th Cir. 1996) (internal quotation and

citation omitted). “[R]arely, if ever, will it be improper for co-conspirator to be tried together.”

Id. (citing United States v. Jackson, 64 F.3d 1213, 1217 (8th Cir. 1995)).




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       The Federal Rules of Criminal Procedure also provide that if joinder creates prejudice to

either the Government or a defendant, the Court may sever a trial “or provide any other relief

that justice requires.” Fed. R. Crim. P. 14(a). However, “[i]f, under Rule 8, joinder is proper,

then the defendant seeking severance has a ‘heavy burden’ in demonstrating that a joint trial will

impermissibly infringe his right to a fair trial.” United States v. Hopkins, No. 11–230

(DWF/SER), 2011 U.S. Dist. LEXIS 127071, at *25–26 (D. Minn. Oct. 5, 2011) (citing

Warfield, 97 F.3d at 1019). “There is a preference in the federal system for joint trials of

defendants who are indicted together.” Zafiro v. United States, 506 U.S. 534, 537 (1993); see

also United States v. Clay, 579 F.3d 919, 927 (8th Cir. 2009). “Joint trials play a vital role in the

criminal justice system,” because they achieve certain efficiencies, and because they “avoid[ ]

the scandal and inequity of inconsistent verdicts.” Richardson v. Marsh, 481 U.S. 200, 209–10

(1987). “Only in an unusual case will the prejudice resulting from a joint trial be substantial

enough to outweigh the general efficiency of joinder.” Clay, 579 F.3d at 927 (citing United

States v. Al–Esawi, 560 F.3d 888, 891 (8th Cir. 2009)). “The risk of prejudice posed by joint

trials is best cured by careful and thorough jury instructions.” United States v. Mickelson, 378

F.3d 810, 818 (8th Cir. 2004).

III.   ANALYSIS

       Defendant moves the Court for an Order, pursuant to Federal Rules of Criminal

Procedure 8 and 14, severing his case from that of all the other defendants in the present case.

(Mot. for Severance of Defs. [Docket No. 530]).

       Defendant’s Motion for Severance of Defendants is conclusory and articulates no specific

facts demonstrating either (1) that joinder of the defendants was improper under Rule 8(b), or (2)

that continued joinder will create prejudice sufficient to warrant severance pursuant to Rule 14.



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          Defendant merely argues generally that severance is proper on the grounds that:

                 1. The evidence to be presented at trial is such that the jury
                    will be unable to compartmentalize the evidence against this
                    defendant, causing an improper transference of guilt.
                 2. Evidence which would be inadmissible were the defendants
                    tried separately, may be admitted and considered by the jury
                    to the prejudice of this defendant.
                 3. Exculpatory evidence, directly and exclusively within the
                    knowledge of Mr. Keezer is denied this defendant, because
                    this defendant has no right to call a co-defendant to the
                    stand in a joint trial;
                 4. Exculpatory evidence, known only by the co-defendant, is
                    unavailable to this defendant because the co-defendant fears
                    that by taking the stand in a joint trial he would jeopardize
                    his own defense;

(Mot. for Severance of Defs. [Docket No. 530]).

          The Defendant has offered no specific facts to support any of the foregoing general

assertions. (See Id.). Defendant’s motion as submitted on the present record is insufficient to

sustain his heavy burden to demonstrate that severance is warranted. The Court could summarily

recommend denying Defendant’s motion on this basis alone. However, in an abundance of

caution, the Court notes that in addition to the fact that Defendant has failed to sustain his

burden, the underlying alleged facts relevant to the present case indicate that joinder was indeed

proper under Rule 8(b) and that severance pursuant to Rule 14 is not warranted on the present

record.

          The underlying alleged facts articulated in support of the Indictment indicate that the

Defendants participated in the same series of acts or transactions constituting offenses. See Fed.

R. Civ. P. 8(b). The fact as set forth in the Indictment indicate that the Defendants acting

together conspired with others to possess, with intent to distribute, controlled substances

including heroin, methamphetamine, oxycodone, hydromorphone, hydrocodone, and methadone.

(Indictment [Docket No. 1]). Accordingly, under Rule 8(b), joinder of the Defendants was proper


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where “they are alleged to have participated in the same act or transaction, or in the same series

of acts or transactions, constituting an offense or offenses[,]” and it is not necessary that each

Defendant have participated in each offense. Warfield, 97 F.3d at 1019 (citing Fed. R. Crim. P.

8). The facts set forth in the Indictment in the present case indicate that Defendant, along with

other co-defendants and alleged co-conspirators, “did, among other things, facilitate, supervise,

manage, transport, maintain residences, receive and transfer funds, and distribute controlled

substances during the course of the conspiracy.” (Indictment, [Docket No. 1], at ¶ 11).

       Because joinder of the Defendants was proper under Rule 8(b), Defendant necessarily

bears the heavy burden of demonstrating that a joint trial will impermissibly infringe on his right

to a fair trial. Nothing in the present record before the Court indicates that Defendant stands to

incur any specific prejudice attributable to joinder of the Defendants sufficient to warrant

severance.

       As articulated above, there is a strong preference in the federal system for joint trials. In

light of that preference, and at this early juncture, where Defendant can only invite the court to

speculate as to what evidence the Government might actually seek to introduce at a joint trial,

severance is not, at this time, appropriate. “Severance is a remedy that can be provided at the

time of trial if appropriate under the circumstances.” United State v. Billups, No. 06-cr-129

(PJS/AJB), F. Supp. 2d 697, 706 (D. Minn. 2006).

       As such, for the reasons articulated above, it is recommended that the Defendant’s

motion for severance be DENIED without prejudice.

IV.    CONCLUSION

       Based on the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY RECOMMENDED that:



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   1. Defendant’s Motion for Severance of Defendants, [Docket No. 530], be DENIED

       without prejudice, as set forth above.




Dated: November 16, 2015                                   s/Leo I. Brisbois
                                                           The Honorable Leo I. Brisbois
                                                           U.S. MAGISTRATE JUDGE



                                          NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the District
Court and is therefore not appealable directly to the Eighth Circuit Court of Appeals.

Under Local Rule 72.2(b)(1), “A party may file and serve specific written objections to a
magistrate judge’s proposed findings and recommendation within 14 days after being served
with a copy of the recommended disposition[.]” A party may respond to those objections within
14 days after being served a copy of the objections. LR 72.2(b)(2). All objections and responses
must comply with the word or line limits set forth in LR 72.2(c).

Under Advisement Date: This Report and Recommendation will be considered under
advisement 14 days from the date of its filing. If timely objections are filed, this Report and
Recommendation will be considered under advisement from the earlier of: (1) 14 days after the
objections are filed; or (2) from the date a timely response is filed.




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